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{Official Form 1} (1/08)

 

United States Bankruptcy Court

 

 

 

 

 

 

 

 

 

 

District of Delaware

Name of Debtor (if individual, enter Last, First, Middie): Name of Joint Debtor (Spouse) (Last, First, Middle):
Simmons Bedding Company N/A
All Other Names used by the Debtor in the last 8 years All Gther Names used by the Joint Debtor in the last 8 years
Gneiude married, maiden, and trade names): Ginelude married, maiden, and trade names):
See Attached Schedule 1 N/A
Last four digits of Social-Seeurity No./Complete EIN or other Tax-LD. No. (Gf more Last four digits of Social-Security No./Complete EIN or other Tax-1.D, No. Gf more than
than one, state all): one, state all):
Tax-LD. No. XX-XXXXXXX N/A
Street Address of Debtor (No. and Street, City, and State}: Street Address of Joint Debtor (No, and Street, City, and State):
One Concourse Parkway, Suite 800 NIA
Atlanta, GA

ZIP CODE 30328 | ZIP CODE
County of Residence or of the Principal Place of Business: County of Residence or of the Principal Place of Business:
Fulton County N/A
Mailing Address of Debtor Gif different from street address): Mailing Address of Joint Debtor (if different from street address):
N/A ZIP CODE N/A ZIP CODE

 

 

 

Location of Principal Assets of Business Debtor (if different from street address above):

 

 

 

 

 

See Attached Schedule 3 ZIP CODE
Type of Debtor Nature of Business Chapter of Bankruptcy Code Under Which
(Form of Organization} (Check one box.) the Petition is Filed (Check one box)
(Check one box.) LI Health Care Business CF Chapter? 1 Chapter 15 Petition for Recognition of a Fore
GG Individuai (includes Joint Debtors) : Real Estate as defined i apier hapter 1> Petition tor Recognition of a rorergn
See Exhibit D on page 2 of this form, 4 Tee § 01518) © as defined in a opener H Man Proceeding fer
ion fi “es hapter hapter 15 Petition for Recognition of a Foreign
fs Cornea (includes LLC and LLP) C1} Railroad (0 Chapter 12 Normain Proceeding
tockbrok 1 Chapter 13
CC] Other (If debtor is not one of the above 5 an wdity B k P
entities, check this box and state type of ‘ommodity Broker ;
entity below.} C1 Clearing Bank Nature of Debts (Check one box}
EJ Other Manufacturing/Sales C] Debts are primarily consumer Debts are primarily business
debts, defined in 12 U.S.C. § debts.
; as 101{8) as “incurred by an
(Guach bon M repleable.) individual primarily for a personal,
> . family, or household purpose.”
(1 Debtor is a tax-exempt organization Chapter 11 Debtors
under Title 26 of the United States Cheek box:
Code (the Intemal Revenue Code). HECK One DOX:

 

rl Debtor is a small business debtor as defined in 21 U.S.C. § 103(S3D}.

 

Filing Fee (Check one box)

©) Full Filing Fee attached Debtor is not a small business debtor as defined in 11 U.S.C, § 101(51D).
[1] Filing Fee to be paid in installments (applicable to individuals only) Check if:

Must attach signed application for the court’s consideration certifying that the debtor is
unable to pay fee except in installments. Rule 1006(b). See Official Form 3A,

DD Filing Fee waiver requested (applicable to chapter 7 individuals only), Must attach signed
application for the court’s consideration. See Official Form 3B.

[[]  Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
insiders or affiliates} are bess than $2,390,000,

Cheek all applicable boxes:
(1 A plan is being filed with this petition.

[<] Acceptances of the plan were soticited prepetition from one or more classes of
creditors, in accordance with 1] U.S.C, § 1126(B).

 

 

Statistical/Administrative Information TRIS SPACE IS FOR COURT USE ONLY
Debtor estimates that funds will be available for distribution to unsecured creditors,

£1 Debtor estionates that, after any exennpt property is excluded and administrative expenses paid, there will be no funds available for
distribution to unsecured creditors,

 

Estimated Number of Creditors (Consolidated with affiliates)

 

 

 

O OQ O Oo 7m) Q ES a oO 0

1-49 599 100-199 200-099 1,000- §,O01- 10,001- 25,001» $6,001- Over
5,000 19,000 25,000 30,600 160,006 180,000

Estimated Assets (Consolidated with affiliates)

| ti a C O CI ] &

$0 to $30,001 to $100,003 to $500,001 to $1,900,001 to $10,000,00 $59,000,003 $160,000,00] $500,000,001 More than

$56,000 $109,000 $500,600 31 miltion $10 million 1 to $50 to S100 lo $508 to $1 billion $) billion

million million million

 

Estimated Liabilities (C lidated with affiliates)

 

O QO Oo Oo im 0 O Cl Co Be

$0 to $50,001 to $100,001 to «= $800,00] te «= $1,000,001 to =: $0,.000,00 $56,000,001 $100,900,001 3506,000,003 More than

$50,000 $106,000 $500,000 $1 million $16 million ito $50 10 $100 to $560 30 $1 Dillion $1 Dillion
milion million million

 

 

 

 

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(Official Form 1 (1/08)
FORM B1, Page 2

 

Voluntary Petition Name of Debtor(s):
(This page musi be completed and filed in every case) Simmons Bedding Com pany

 

All Prior Bankruptey Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)

 

Location Case Number: N/A Date Filed: N/A
Where Filed: N/A

 

Location Case Number: N/A Date Filed; N/A
Where Filed: N/A

 

Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet.)

 

 

 

 

Name of Debtor: Case Number: Pending Date Filed:
See Attached Schedule 2 November 16, 2009
District: District of Delaware Relationship: Affiliates Judge: Pending
Exhibit A Exhibit B

Cfo be comploted if debtor isan individual
whose debts are primarily consumerdcbts,)

{To be completed if debtor is required to file periodic reports (e.g., forms LOK and 10Q} N/A.
with the Securities and Exchange Commission pursuant to Section 13 or 15(4} of the

Seourities Exchange Act of 1934 and is requesting relief under chapter 11.) I, the attorney for the petitioner named in the foregoing petition, declare that I have informed

the petitioner that [he or she} may proceed under chapter 7, 11, 12, or 13 of title 11, United
N/A States Code, and have explained the relief available under each such chapter. | further certify
that | have delivered to the debtor the notice required by § 342(b}.

EE} Exhibit A is attached and made a part of this petition,
x

Signature of Attorney for Debtor(s} Date

 

 

Exhibit C

Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
fs Yes, and Exhibit C is attached and made a part of this petition.
i] Ne.

 

Exhibit D

N/A
(To be completed by every individual debtor. If a joint petition is filed, each spouse mast complete and attach a separate Exhibit D.)

CJ Exhibit D completed and signed by the debtor is attached and made a part of this petition.
Hf this is a joint petition:

0 Exhibit D also completed and signed by the joint debtor is atached and made a part of this petition.

 

Information Regarding the Debtor ~ Venue
(Check any applicable box.)

4 Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other District.

ee

There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in ihis District.

E} Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
principal place of business or assets in the United States but is a defendant in an action or proceeding {in a federal or state court] in this District, or
the interests of the patties will be served in regard to the relief sought in this District.

 

Certification by a Debtor Who Resides as a Tenant of Residential Property

N/A
CI Landiord has a judgment against the debtor for possession of debtor's residence. Gf box checked, complete the following.)

 

(Name of landlord that obtained judgment)

 

(Address of landlord)

CC} Debtor claims that under applicable nonbankruptey Jaw, there are circumstances under which the debtor would be permitted to cure the entire
monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

EE Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
petition,

FE} Debtor certifies that he/she has served the Landlord with this certification. (1! U.S.C. § 362(1)).

 

 

 

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{Official Form 1) (4/08)
FORM BL. Base 3

 

Voluntary Petition Name of Debtorts):

Simmons Bedding Company

{This pape must be completed anil filed in every easel

 

Si

natures

a

 

Signature(s} of Dedtor{s} (Individual/Joint) Signature of a Foreign Representative

t declare under penalty of perjury that the information provided in this petition is
true and correct, that 7am the foreign representative of a debtor in a foreign
proceeding, and that Iam authorized to File this petition.

I devtare under penalty of perjury that the information provided in this petition is fue and
correct.

| Ef petitioner is an individual whose debts are primarily consumer debts and has chosen [
file under chapter 7) 1 nm aware that F may proceed under chapter 7, 1. 12 of 13 of title
Hi. United States Code, understand the relief available under each suck chapter, and
choose to proceed under chapier 7.

{Hf no attorney represents me and ne bankruptcy petition preparer signs the petition} [ have

(Check only one box.)

 

 

obtained and read the notice required by 1} US.C. 8 342b). 0 i request relief in accordance with chapter 15 of lide 11, United States Code.
Certified copies of the documents required by #1 U.S.C. § 1515 are arached.
rauest redief § ish the che f title £1, United States 2, specified i sgn an + .
| requcsl rele? in accordance with the chapter of tle United States Code, specilied 1s ty} Pursuant to 11 U.S.C. § 15TH, Frequest relief ia accordance with the chapter of lille
pe , Li specified in this petition. A certified copy of the order granting recognition of
ihe foreign main proceeding is attached.
x.
Signature of Debtor
(Signature of Foreign Representative}

x

 

 

Signature of Joint Debtor
(Printed Name of Foreign Representative)

 

 

Telephone Number (if not represented by attorney) a
ale

 

Date

 

Signature of Attorney* Signature of Nen-Attorney Bankruptcy Petition Preparer

X Ist Node K. Colliny

Signaturd of Attorney for Debroris)

I declare under penalty of perjury that: (1) ] ama bankrupicy petition preparer as defined in lt
U.S.C. § 110: (2) 1 prepared this document for compensation and have provided the debtor with
VA nw a copy of this document and the gotices and information required under 11 U.S.C. $8 1 Hoth),

} 1fOCh}. and 342{b); and (3) #f rules or guidelines have been promulgated pursuant [0 11 S.C,
§ 110ch) setting 9 maximum fee for services chargeable by bankruptcy petition preparers, i

 

 

 

 

 

 

 

 

 

 

E deckwre under penalty of perjury shat the jntormation provided in this petition is nue and
eortect, and that E have been authorized to file this petkion on bebalf of the debtor.

The debtor requess thefretief byaceor: with the chapter of title 11, United States

   

x fsé

Signature of Authorized individual

William S$. Creeknuic
Printed Name of Authorized Individual

 

Exceutive Vice President, Chie { Financia cer. Lease Assis eretary

Title of Authorized Individual

November 16, 2009

Date

 

 

 

 

 

Mark D. Collins : . : .
‘ " have given the debtor notice of the maximum amount before preparing any document for filing
Printed Name of Attorney for Debtor(s) for a debtor or accepting any fee from the debtor, as required in that section. Officiat Form 198

Richards, Layton & Finger. PAL is artached.

Firm Name

One Rodney Square, Wilmington, Delaware 19801. Printed Name and tk, if any, of Bankruptcy Petition Preparer

Address

(302), 652-7700 Social-Securily number (if the bankruptcy petition preparer is not ar individual, state the

Telephon: Number Social-Security number of the officer, principal, responsible person or parther of the bankrupicy

November 16,2009 petition preparer.) (Required by 1E U.S.C. § 110.)

Bate
* Ina case In whieh § TO7DN4 HD) applies, this signature also constitutes a cemification that the anomey Address
has nn knowledge efter an injury that Ge informasion in the schedules is incorres1.

x
Signature of Debtor (Corporation/Partnership)
Date

Signature of bankruptcy petition preparer or officer, principal, responsible person, or parlner
whose Socisl-Security number is provided above.

Names and Soclai-Security numbers of all other individuals who prepared of assisted in
preparing this document unless the bankruptcy petition preparer is not an. individual:

If more than one person prepared this document, attach addtional sheets conforming to the
appropriate official form for each person.

A bankruptcy petition prepurer's failure to comply with the provisions of tile if and the
Federal Rules of Bankruptcy Procedure may resnit in fines er imprivonment or both, LES,
§ 10: TRUS. § 156.

 

CADOCUMENTS AND SETTINGS\IFOLEYDALOCAL 3)
SIMMONS BEDDING COMPANY _26365900_7.D0C

ETTINGS\TEMPORARY INTERNET FILES\CONTENT.OUTLOOK\EHRXDXEZWS_ACT TVE_VOLUNTARY PETEMON_

 
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Schedule 1

The Debtor has used the following other names during the previous 8 years,
which includes trade names:

Simmons

Simmons Co.

Simmons Bedding

Simmons Bedding Company

Simmons Company, a Delaware Corporation
Simmons U.S.A. Corporation

Simmons Company (U.S.A.}

Simmons U.S.A. Company

Simmons Company, N.A.

Simmons USA Company

Simmons Company a Corporation of Delaware
THL Bedding Company

«ese @ ¢ 8 @ @#© @ @ #@ © @

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Schedule 2
Affiliated Chapter 11 Debtors
Simmons Company
Bedding Holdco Incorporated
The Simmons Manufacturing Co., LLC
Windsor Bedding Co., LLC
World of Sleep Outlets, LLC
Simmons Contract Sales, LLC
Dreamwell, Ltd.
Simmons Capital Management, LLC

Simmons Export Co.

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Schedule 3

Other Locations of Principal Assets of Business Debtor

Gwinnett Corporate Business Park
1856 Corporate Drive, Suite 105
Norcross, Georgia 30093

Las Vegas World Mart

Space 525 & 946, Level 5

Bldg at N.W. Corner of Bonneville Avenue and Grand Central Parkway
Las Vegas, Nevada 89101

Las Vegas World Mart
Space 762, 7th Floor
Building B

475 Grand Central Parkway
Las Vegas, Nevada 89106

1500 Southland Circle
Suites A, B, F, and G
Atlanta, Georgia 30318

1900 Beaver Ridge Circle
Norcross, Georgia 30071

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CERTIFICATE OF RESOLUTIONS

I, William S. Creekmuir, a duly authorized officer of SIMMONS BEDDING
COMPANY, a Delaware Corporation (the “Corporation”), hereby certify that at a special
meeting of the Board of Directors of the Corporation duly called and held on November 13,
2009, the Board of Directors of the Corporation consented to the following actions and adopted
the following resolutions, and that said resolutions have not been modified or rescinded and are
still in full force and effect on the date hereof:

WHEREAS, the Board has determined that it is desirable and in the best interests
of the Corporation, its creditors, employees, and other interested parties that a
petition (the “Petition”) be filed by the Corporation, seeking relief under the
provisions of chapter 11 of title 11 of the United States Code (the “Bankruptcy
Code”),

 

NOW, THEREFORE, BE IT RESOLVED, that the Corporation is hereby
authorized to file the Petition; and it is further

RESOLVED, that the Petition be, and hereby is, authorized; and it is further

RESOLVED), that the following officers: Stephen G. Fendrich, President; William
S. Creekmuir, Executive Vice President, Chief Financial Officer, Treasurer and
Assistant Secretary; Kristen K. McGuffey, Executive Vice President, General
Counsel and Secretary, and any other person designated and authorized to act by
any of the foregoing officers (each, an “Authorized Officer’) of the Corporation
are hereby authorized and empowered, in the name and on behalf of the
Corporation, to execute and verify the Petition under chapter11 of the
Bankruptcy Code and to cause the same to be filed in the United States
Bankruptcy Court (the “Bankruptcy Court”) for the District of Delaware at such
time or in such other jurisdiction as the Authorized Officer executing the Petition
shali determine; and it is further

RESOLVED, that the law firm of Weil, Gotshal & Manges LLP, be, and hereby
is, employed as attorneys for the Corporation under a general retainer in this
chapter 11 case, subject to the approval of the Bankruptcy Court; and it is further

RESOLVED, that the law firm of Richards, Layton & Finger, P.A., be, and
hereby is, employed as local counsel for the Corporation under a general retainer
in this chapter 11 case, subject to the approval of the Bankruptcy Court; and it is
further

RESOLVED, that the firm of Miller Buckfire & Co., LLC, be, and hereby is,
employed to provide financial advisory services for the Corporation, subject to the
approval of the Bankruptcy Court; and it is further

RESOLVED, that any Authorized Officer be, and hereby is, authorized and
empowered to execute and file all petitions, schedules, motions, lists,

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applications, pleadings, and other papers and, in connection therewith, to employ
and retain all assistance by legal counsel, accountants, financial advisors, and
other professionals and to take and perform any and all further acts and deeds that
such Authorized Officer deems necessary, proper, or desirable in connection with
the Corporation’s chapter 11 case, with a view to the successful prosecution of
such case; and it is further

RESOLVED, that in connection with the commencement of the chapter 11 case,
any Authorized Officer be, and hereby is, authorized and empowered to negotiate
the use of cash collateral; and it is further

RESOLVED, that each Authorized Officer, be, and each hereby is, authorized and
empowered, in the name and on behalf of the Corporation, as the case may be, to
(and any such actions heretofore taken by any of them are hereby ratified,
confirmed and approved in all respects): (i) negotiate, enter into, execute, deliver,
certify, file, and/or record, and perform such agreements, instruments,
assignments, motions, affidavits, applications for approvals or rulings of
governmental or regulatory authorities, certificates, or other documents, and to
take such other actions, as in the judgment of any such officer shall be or become
necessary, proper, and desirable to effectuate a successful reorganization of the
Corporation; and (ii) negotiate, execute, deliver and/or file, in the name and on
behalf of the Corporation any and all agreements, documents, certificates,
consents, filings and applications relating to the resolutions adopted and matters
ratified or approved herein and the transactions contemplated thereby, and
amendments and supplements to any of the foregoing, and to take such other
actions as may be required or as such officers deem appropriate or advisable in
connection therewith; and it is further

RESOLVED, that each Authorized Officer be, and each hereby is, authorized and
empowered on behalf of and in the name of the Corporation, to execute such
consents of the Corporation, as such Authorized Officer considers necessary,
proper or desirable to effectuate these resolutions, such determination to be
evidenced by such execution or taking of such action; and it is further

RESOLVED, that any and all past actions heretofore taken by any Authorized
Officer or the directors of the Corporation in the name and on behalf of the
Corporation in furtherance of any or all of the preceding resolutions be, and the
same hereby are, ratified, confirmed, and approved.

[remainder of page intentionally left blank]

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2009.

IN WITNESS WHEREOF, I have hereunto set my hand this 13th day of November,

   
    

  
  

By: col
Name: William 8.
Title: Executive Vice

Creekmuir
President, Chief

Financial Officer, Treasurer &
Assistant Secretary

CADOCUMENTS AND SETTINGS\FOLEYDILOCAL SETTINGS\TEMPORARY INTERNET

FILESICONTENT.CUTLOO K\EHRXDXEZUS_ACTIV

E_ VOLUNTARY PETITION, SIMMONS BEDDING COMPANY _

rexeso_7poc | 3
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

x
In re Chapter 11
SIMMONS BEDDING COMPANY, ef al., Case No. 09-[ ]
Debtors. : Joint Administration
: Requested
x

 

CONSOLIDATED LIST OF CREDITORS
HOLDING 30 LARGEST UNSECURED CLAIMS

The following is a list of creditors holding the fifty (50) largest unsecured claims against the
above-captioned Debtor and certain affiliated entities that, have simultaneously commenced
chapter 11 cases in this Court (collectively, the “Debtors”).! This list has been prepared on a
consolidated basis from the books and records of the Debtors. The list reflects amounts from the
Debtors’ books and records as of November 12, 2009. The list is prepared in accordance with
Fed. R. Bankr. P. 1007(d) for filing in the Debtors’ chapter 11 cases. This list does not include
(1) persons who come within the definition of “insider” set forth in 11 U.S.C. § 101, or
(2) secured creditors unless the value of the collateral is such that the unsecured deficiency
places the creditor among the holders of the 50 largest unsecured claims. The information herein
shall not constitute an admission of liability by, nor is it binding on, any Debtor. Moreover,
nothing herein shall alfect any Debtor’s right to challenge the amount or characterization of any
claim at a later date.’

 

. Name,. telephone number and complete | Nature of Claim Indicate if Claim

Name of Creditor >

> Mailing: address, including zip code, - (tirade debt,’ | — is contingent, Amount of Claim:
of employee, agent, or department - bank loan, - unliquidated, (if secured also
of creditor familiar with claim, ‘government disputed or - - State value of

 

 

a -who may be contacted” | contract, ete.) | subject to set-off: | security)
Paul Desharnais
State Street Bank & Trust Company

State Street Bank & Trust 1776 Heritage Dr. Bond Debt $106,820,000.00

Company North Quincy, MA 02171

Telephone: (617) 983-2880

 

 

 

 

 

 

The Debtors in these chapter 11 cases, along with the last four (4) digits of each Debtor’s federal tax
identification number, are: Simmons Company (6221); Bedding Holdco Incorporated (5929); Simmons
Bedding Company (5743); The Simmons Manufacturing Co., LLC (0960); Windsor Bedding Co. (8616);
World of Sleep Outlets, LLC (0957); Simmons Contract Sales, LLC (2016); Dreamwell, Ltd. (2419);
Simmons Capital Management, LLC (2470); and Simmons Export Co. (1370).

In addition, the amounts reflected for Trade Debt claims include the full amounts that have been invoiced
to the Debtors by their trade creditors. Because the Debtors conduct a number of internal reviews to
determine if the full amount of a particular invoice should be paid, and many of those reviews have not yet
been performed, the full amounts reflected herein may not ultimately be payable by the Debtors.

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_ Name; telephone number and complete”

ma of employee, agent, or department:
ae Se os of ereditor familiar with claim ~~

.. whe inay be contacted 000

Nature of Claim.
. {trade‘debt, "
‘bank loan, 2)

government. - |.

|) Sgentract, ete.)

Indicate # Claim. |

" ‘is-contingent, ©

: ifinger |. Amount of Claim
unliquidated, . |
>-Gisputed:or, = |

“subject to set-off. °

. (if secured also
~ state.value of
security)

 

Goldman Sachs

Vanessa Camardo
Goldman Sachs

30 Hudson Street

Proxy Department

Jersey City, NJ 07302
Telephone: (2412) 902-9649

Bond Debt

$90,595,000.00

 

Bank of New York
Melon/Trust

Melissa Farasovich

BNY Melion Asset Servicing

525 William Penn Place, Ste. 0400
Pittsburgh, PA 15259
Telephone: (412)234-2475

Bond Debt

$45,626,000.00

 

US Bank, NA

Tim Randail

US Bank, NA

Attn: Securities Control

1555 N. Rivercenter Dr., Suite 302
Miwaukee, WI 53212
Telephone: (414) 905-5444

Bond Debt

$31,125,000.00

 

JP Morgan Chase Bank, NA

Sanjay Ghuliani

JP Morgan Chase Bank, NA
Paradigm, B Wing, Floor 6
Mindspace, Malad (W)
Mumbai 400 064 India
Telephone: (469) 477-2140

Bond Debt

$29,354,000.00

 

JP Morgan Chase Bank,
NA/Clear

Vincent Marzella

One Metrotech Center North
4th Floor

Brooklyn, NY 11201-3862
Telephone: 347) 643-4625

Bond Debt

$28,165,000.00

 

UMB Bank, NA

Jan Guzman

UMB Bank, NA

928 Grand Blvd.

Kansas City, MO 64106
Telephone: (816) 860-5965

Bond Debt

$26,492,000.00

 

Northern Trust

Robert Valentin

Northern Trust

801 S. Canal Street C-5S
Attn: Capital Structures-C1N
Chicago, IL 60607
Telephone: (312) 630-6936

Bond Debt

$18,530,000.00

 

Bank of New York

Michael Kania

Bank of New York

525 William Penn Place
Pittsburgh, PA 15259
Telephone: (412) 236-7827

Bond Debt

$17,878,000.00

 

 

Credit Suisse Securities U.S.A.

 

Randy Grant

1 Madison Avenue

Asset Servicing 2nd Fl
New York NY 10010
Telephone: (212) 538-9651

Bond Debt

 

 

 

$17,330,006.00

 

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Name of Creditor

fo: Name, telephone number.and complete. oe
_ Anailing address, including zip code,.|

of employee, agent, or department -.
of creditor familiar with claim
whe may be contacted

-Natire of Claim:
(trade. debt,-:—
“bank foan,
government
“contract, etc.)

‘disputed or
subject to set-off

Indicate if Claim |
/ ‘is .contingent, oS
|. unliquidated,

Amount of Claim, .
- {if secured also
state value of
security)

 

Citibank

Sandra Hernandez
Citibank

3806 Citibank Center B3-12
Tampa, FL 33610
Telephone: (813) 604-1169

Bond Debt

$13,730,000.00

 

Brown Bros.

Dorota Matkiewicz

Brown Bros.

525 Washington Blvd.
New Port Towers

Jersey City, NJ 07302
Telephone: (201) 418-6380

Bond Debt

$11,385,000.00

 

UBS Securities LLC

John Malloy

480 Washington Blvd.
Jersey City, NJ 07310
Telephone: (201) 793-6649

Bond Debt

$8,500,000.00

 

JP Morgan Chase Bank,
NA/CTC

Darrin Nelson

JP Morgan Chase Bank, NA/CTC
14201 Dallas Parkway

Dallas, TX 75254

Telephone: (469) 477-1558

Bond Debi

$7,144,000.06

 

Deutsche Bank

Ray Conte

1251 Avenue Of The Americas
New York NY 10020
Telephone: (201) 593-6664

Bond Debt

$4,040,000.00

 

Leggett & Platt, Inc.

Leggett & Platt, Inc

Post Office Box 757
Number 1 Leggett Road
Carthage, MO 64836
Telephone: (417) 358-8131

Trade Debt

$3,793,996.80

 

Lehman Brothers

Jim Gardiner
Reorganization

70 Hudson

Jersey City NJ 07302
Telephone: 201} 499-8477

Bond Debt

$3,645,000.00

 

Pershing LLC

Al Hernandez

Securities Corporation

i Pershing Plaza

Jersey City NJ 07399
Telephone: (201) 413-2446

Bond Debt

$2,550,000.00

 

Stifel Financial Corp.

Chris Wiegand

Stifel Financial Corp.

501 N. Broadway, 7th Floor
Stock Record Dept.

St. Louis, MO 63102
Telephone: (314) 342-2270

Bond Debt

$2,205,000.00

 

 

Jefferies & Company, Inc.

 

Charles Errigo

Jefferies & Company, Inc.
Harborside Financial Center
34 Exchange Place

Plaza UI, Suite 705

Jersey City, NJ 07311
Telephone: (201) 761-4009

Bond Debt

 

 

 

$1,924,000.00

 

RLF] 3504944V.1

 
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~'Name.of Creditor’

“| Name, telephone number and complete...

... Mailing address, including zip code, ~
: of employee, agent, or department

of ereditor familiar with:claim |):
Th “who, may be.contacted \: Sh ae

| Nature of-Claim -
| -. (trade debt, .-
“aA. bank loan, |<.
:... government .-

“contract, ete.)

Indicate if Claim

‘ is contingent, |
‘unliquidated,

_ disputed or
subject to set-off

Amount of Claim
(if secured also
state value of

" security)

 

Foamex, L.P.

Foamex, L.P.

1000 Columbia Avenue
Linwood, PA 19061
Telephone: (610) 859-3000

Trade Debt

$1,394,301.49

 

Wells Fargo Bank, NA

Lacey Peterson

Wells Bank, NA

733 Marquette Avenue
Mac N9306-057, 5th Floor
Minneapolis, MN 55479
Telephone: (612) 316-3447

Bond Debt

$1,256,000.00

 

International Mattresses Co,
S.A, de CV.

Sr. Eduardo Espino

International Mattresses Co, S.A. de
C.V. Bivd. Manuel Avila Camacho 36
Col. Lomas de Chapultepec

Torre Esmeraida IE Piso 15
C.P.11000, Del. Miguel Hidalgo

Trade Debt

Contingent
and/or
Disputed

$1,236,857.00

 

Future Foam, Inc.

Future Foam, Inc.

1610 Avenue N

Council Bluffs, iA 51501
Telephone: (712) 323-9122

Trade Debt

$1,083,855,95

 

Davis Wire

Davis Wire

5555 Irwindale Avenue
Irwindale, CA 91706
Telephone: (626) 969-7651

Trade Debt

$579,454.21

 

Hanes Converting, Co,

Hanes Converting, Co.

500 N. McLin Creek Road, Box 457
Conover, NC 28613

Telephone: (800) 438-9124

Trade Debt

$574,889.01

 

Louisville Bedding Company

Louisville Bedding Company
16400 Bunsen Way
Louisville, KY 40299
Telephone: (502) 491-3370

Trade Debt

$330,988.21

 

Vita Nonwovens

Vita Nonwovens
British Vita Group Sarl
Goldbell Center

5 rue Eugene Ruppert
L-1882 Luxemburg

Trade Debt

$371,407.83

 

Global Textile Alliance, Inc.

Glebal Textile Alliance, Inc.
5275 National Center Drive
Colfax, NC 27235
Telephone: (336) 217-1300

Trade Debt

$356,909.37

 

DuPont Company

DaPont Company

P. O. Box 905552
Charlotte, NC 28290-5552
Telephone: (888) 553-0212

Trade Debt

$343,374.17

 

 

Barrettewood USA, Inc.

 

Barrettewood USA, Inc.

7830 Freeway Circle
Middleburg Heights, OH 44130
Telephone; (417) 865-3563

 

Trade Debt

 

 

$327,534.21

 

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| "Name of Creditor.

"Name, telephone number and complete . -
.. Mailing address, including zip code, ~ -
‘ of employee, agent, or department... *-

| oS of ereditor familiar with claim ¢..
\...who may be contacted. «:":

Nature of Claim.
‘(trade debt,

.-:. bank loan,

~government ©
‘eontract, etc.)

Indicate if Claim
is contingent,

‘unliquidated, -
Cdisputed.or
subject to-sét-olf :

Amount of Claim
(if secured also
. State value of
-Seeurity) —

 

Polymer Group, Inc.

Polymer Group, Inc.

9335 Harris Corners Parkway
Suite 300

Charlotte, NC 28269
Telephone: (704) 697-5100

Trade Debt

$321,813.21

 

MSC/Retail

John Stahlman

MSC/Retail

Harborside Financial Center
Plaza 3, 4th Floor

Jersey City, NJ 07311
Telephone: (201) 395-6966

Bond Debt

$297,000.00

 

Bekaert Textiles —- USA, Inc.

Bekaert Textiles —- USA, Inc.
240 Business Park Drive
Winston-Salem, NC 27107
Telephone: (336) 747-4900

Trade Debt

$287,795.12

 

Ashley Furniture Industries,
Inc.

1 Ashley Way
Arcadia, WI 54612
Telephone: (608) 323-3377

Ashley Furniture Industries, Inc.

Trade Debt

Subject to
Set-off

$279,608.00

 

Flexible Foam Products, Ene.

Flexible Foam Products, Inc.
200 E. North Street
Spencerville, OH 45887
Telephone: (419) 647-4172

Trade Debt

$277,992.08

 

CULP, Inc.

CULP, Ine.

1823 Eastchester Drive
High Point, NC 27265
Telephone: (336) 889-5161

Trade Debt

$247,430.20

 

Creative Vinyl/Fabrics Inc.

Creative Vinyl/Fabrics Inc.
277 Fairfield Rd.

Suite 212

Fairfield, NJ 07004
Telephone: (973) 882-3737

Trade Debt

$225,248.41

 

FFKR Architects Inc.

P.Q. Box 510324
Salt Lake City, UT 84141
Telephone: (801) 521-6186

Trade Debt

$190,920.00

 

Latex International

Latex International

510 River Road

Shelton, CT 06484
Telephone: (203) 924-0700

Trade Debt

$186,054.29

 

Mid South Extrusion, Inc.

Mid South Extrusion, Inc.
2015 Jackson Street
Monroe, LA 71202
Telephone: (318) 322-7239

Trade Debt

$172,262.88

 

IWF KKH LLC dba King
Kamehameh

c/o Stroud Group

9130 Red Branch Road
Suite §

Columbia, MD 21845
Telephone: (410) 964-2222

Trade Debt

$165,731.24

 

 

Stanley Bostich Fastening
System

The Stanley Works
1000 Stanley Drive
New Britain, CT 06053

 

Telephone: (860) 225-5111

 

Trade Debt

 

 

$156,455.85

 

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Name of Creditor

Name, telephone number and complete
maiting address, including zip code,-.

of employee, agent, or department
of creditor familiar with claim

who may be contacted

Nature of Claim
... (trade debt,
bank joan,
government
contract, etc.)

Indicate if Claim
is contingent,
waliquidated,

disputed or
subject to set-off

Amount of Claim
(if secured also
state value of
security)

 

Grand Casino Tunica

13615 Old Highway 61 North
Robinsonville, MS 38664
Telephone: (800) 946-4946

Trade Debt

$156,315.00

 

AEP — industries, Inc.

AEP ~ Industries, Inc.

P.O. Box 8500-50590
Philadelphia, PA 19178-0001
Telephone: (201) 641-6600

Trade Debt

$134,634.93

 

CIG LBV LLC c/o Carroll
Adams

805 E Robinson Street
Suite 410

Windermere, FL 34786
Telephone: (407) 246-7770

Trade Debt

$126,600.00

 

Blomenthal Print Works

P.O. Box 13395
New Orleans, LA 70185-3395
Telephone: (800) 535-8590

Trade Debt

$417,988.27

 

Deslee Textiles USA

Destee Textiles USA

1880 Campton Ra.
Toman, SC 29349
Telephone: (864) 472-2180

Trade Debt

$115,134.44

 

Tietex Internatienal Ltd.

Tietex International Ltd.
3010 N. Blackstock Road
Spartanburg, SC 29301
Telephone: (864) §74-0500

Trade Debt

$114,579.92

 

GS International

 

Vanessa Camardo

GS International

30 Hudson Street

Proxy Department

Jersey City, NJ 07302
Telephone: (212) 992-9649

Bond Debt

 

 

 

$113,000.00

 

Dated: November 16, 2009

Title:

   

William 8. Creekmuir
Executive Vice President, Chief

  

Financial Officer, Treasurer and
Assistant Secretary

CADOCUMENTS AND SETTINGS\FOLEYBILOCAL SETTINGS\TEMPORARY INTERNET

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

 

 

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Tn re : Chapter 11
SIMMONS BEDDING COMPANY, ef al., ; Case No. 09-[ ]
Debtors. :, Joint Administration
: Requested
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DECLARATION CONCERNING LIST OF
CREDITORS HOLDING 50 LARGEST UNSECURED CLAIMS

I, the undersigned authorized officer of Simmons Bedding Company, named as
the debtor in this case (the “Debtor”), declare under penalty of perjury that I have read the
foregoing Consolidated List of Creditors Holding 50 Largest Unsecured Claims against the
Debtor and certain affiliated entities that have simultaneously commenced chapter 11 cases in

this Court and that the list is true and correct to the best of my information and belief, with

reliance on appropriate corporate officers.

Dated: November 16, 2009

 

By: William S. Creekmuir

Title: Executive Vice President, Chief
Financial Officer, Treasurer &
Assistant Secretary

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

x
in re : Chapter 11
SIMMONS BEDDING COMPANY, efal, : Case No. 09- ]

Debtors. : Joint Administration
Requested

 

x

CREDITOR MATRIX

The debtor and its debtor affiliates (collectively, the “Debtors’”) each filed a
petition in this court on November 16, 2009 for relief under chapter 11 of the United States
Bankruptcy Code, 11 U.S.C. §§ 101-1532. Contemporaneously with the filing of the petitions,
the Debtors filed a single consolidated list of creditors (the “Creditor Matrix”) in lieu of separate
lists. The Creditor Matrix was submitted to the Court electronically in the case commenced by

Simmons Bedding Company.

RLF 3504944V_)
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

m

 

 

In re : Chapter 11

SIMMONS BEDDING COMPANY, etal, : Case No, 09-[ }

Debtors. : Joint Administration
Requested

 

Xx

 

 

 

DECLARATION CONCERNING CREDITOR MATRIX

I, the undersigned authorized officer of Simmons Bedding Company, named as
the debtor in this case, declare under penalty of perjury that I have reviewed the consolidated
Creditor Matrix of Simmons Company; Bedding Holdco Incorporated, Simmons Bedding
Company; The Simmons Manufacturing Co., LLC; Windsor Bedding Co.; World of Sleep
Outlets, LLC; Simmons Contract Sales, LLC; Dreamwell, Ltd., Simmons Capital Management,
LLC and Simmons Export Co. submitted herewith and that the list is true and correct to the best

of my information and belief, with reliance on appropriate corporate officers.

Dated: November 16, 2009

 
   

 

By: William S. Creekmuir

Title: Executive Vice President, Chief
Financial Officer, Treasurer &
Assistant Secretary

CADOCUMENTS AND SETTINGS\FOLEY DILOCAL SETTINGS\TEMPORARY INTERNET
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re

SIMMONS BEDDING COMPANY, et al,

Debtors.

 

x

Chapter 11

Case No. 09-| |

Joint Administration
Requested

x

LIST OF EQUITY SECURITY HOLDERS PURSUANT TO
RULE 1007(a)(3) OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

 

Name and Last Known Address of
Equity Interest Holder

Number of Interests

Kind of Interest ‘Weld

 

 

Bedding Holdco Incorporated
One Concourse Parkway, Suite 800
Atlanta, Georgia 30328

 

Common Stock, par value 100%

$.01

 

 

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

- x
In re : Chapter 11

SIMMONS BEDDING COMPANY, ef al., : Case No. 09-[ ]

Debtors. : Joint Administration
: Requested

x
DECLARATION UNDER PENALTY OF PERJURY

I, the undersigned authorized officer of Simmons Bedding Company, named as

 

the debtor in this case, declare under penalty of perjury that I have reviewed the “List of Equity

Security Holders” and that it is true and correct to the best of my knowledge, information and

belief, with reliance on appropriate corporate officers.

Dated: November 16, 2009
SIMMONS BEDDING COMPANY

Nh.

William S. Creekmuir
Tie Executive Vice President, Chief Financial
Officer, Treasurer & Assistant Secretary

SIGNATURE PAGE FOR THE LIST OF EQUITY SECURITY HOLDERS

CADOCUMENTS AND SETTINGS\FOLEY DILOCAL SETTINGSITEMPORARY INTERNET
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